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 7                               UNITED STATES DISTRICT COURT

 8                                      DISTRICT OF NEVADA

 9   David Jonathan Thomas,                           Case No. 3:13-cv-00508-RCJ-CLB
10                 Plaintiff,                         Order of Dismissal of Complaint
                                                      with Prejudice
11   v.

12   Isidro Baca, et al.,
13                 Defendants.
14

15          The above-captioned parties have reached and signed a settlement agreement to resolve

16 the claims brought in this lawsuit. Because of the settlement, and in accordance with the terms of

17 their settlement agreement, the parties stipulate and agree to the dismissal of the Complaint and

18 this action with prejudice, with each party to bear their own fees and costs.

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 1 The parties thus move for an order dismissing this action with prejudice.

 2          IT IS SO STIPULATED.
 3          Dated: October 15, 2021.
 4

 5    /s/ Jon T. Pearson                             /s/ Douglas R. Rands
      J. Stephen Peek                                Aaron D. Ford
 6    Jon T. Pearson                                 Attorney General
      Holland & Hart LLP                             Douglas R. Rands
 7    9555 Hillwood Drive, 2nd Floor                 Senior Deputy Attorney General
      Las Vegas, NV 89134                            State of Nevada
 8                                                   Public Safety Division
      Counsel for Plaintiff David Jonathan Thomas    100 N. Carson Street
 9                                                   Carson City, NV 89701–4717
10                                                   Counsel for Defendants Isidro Baca,
                                                     Scott Kahler, Kathryn Reynolds,
11                                                   James Stogner, and Elizabeth “Lisa” Walsh
12

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14          IT IS SO ORDERED.

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                                                 Dated: October 21, 2021.
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